Case 3:19-cv-01111-DWD Document 143 Filed 10/05/21 Page 1 of 13 Page ID #1194




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

 MAHMOUD A. SALAMA,                        )
                                           )
               Plaintiff,                  )
                                           )
 vs.                                       )        Case No. 19-cv-1111-DWD
                                           )
 AISIN MANUFACTURING                       )
 ILLINOIS LLC,                             )
                                           )
               Defendant.                  )

                             MEMORANDUM AND ORDER

 DUGAN, District Judge:

        In this matter, Plaintiff, Mahmoud A. Salama, asserts discrimination and

 retaliation claims against his former employer, Defendant Aisin Manufacturing, Inc., on

 the basis of his race/color, national origin, and religion (Doc. 55). This case is now before

 the Court on yet another discovery dispute between the parties (See Doc. 90; Doc. 114).

 Following a status conference on August 12, 2021, the Co

                                                   ing discovery issues and to submit an

 updated joint discovery report to the Court (Doc. 121). The parties could not agree on all

 their disagreements or agreements so did not agree to the submission of a joint report

 (See Doc. 130; Doc. 133). Instead, Plaintiff filed a discovery report on September 9, 2021

 (Doc. 130). Defendant filed its discovery report on September 15, 2021 (Doc. 133-4).

                                                   on for Leave (Doc. 127). Defendant filed a

 response to the Motion (Doc. 134), to which Plaintiff replied (Doc. 135). The Court held

 a discovery hearing on September 29, 2021 (Doc. 140). Prior to the hearing, the Court

                                               1
Case 3:19-cv-01111-DWD Document 143 Filed 10/05/21 Page 2 of 13 Page ID #1195




 directed the parties to submit affidavits of their attorney

 parties did (Docs. 137, 138). Having reviewed

 arguments, these discovery issues are ripe for rulings as detailed below.


                                        I.       Motion to Compel

         By his Motion dated September 9, 2021, Plaintiff seeks to compel the disclosure of

 an e-mail chain that Defendant produced, and marked confidential, in a separate

 litigation matter, Marroy v. Aisin MFG. Illinois, LLC, S.D. Ill. Case No. 20-972-DWD.

                                                                       Stamped Aisin-Marroy pp. 1078-

                                                   es a few background issues from Marroy that are

 relevant to this matter.          First, in Marroy, Plaintiff also asserted discrimination and

 retaliation claims against Defendant Aisin. See Marroy, at Doc. 25. 1 The parties reached

 a settlement in this matter, and judgment was entered on August 25, 2021. See Marroy, at

 Docs. 98, 100.

         Second, the parties in Marroy and this matter share similarities in representation.

 Specifically, in Marroy, Plaintiff Marroy was represented by Attorney Brian J. Graber of

 Brian J Graber LLC. See Marroy, at Doc. 11. Defendant Aisin was represented by

 Attorneys Rebecca Murphy Christensen, Kimberly A. Yates, and Patricia J. Martin of

                                              See Marroy, at Docs. 4, 5, 81. Likewise, in this matter,

 Plaintiff Salama is represented by Attorney Brian J. Graber (Doc. 67), in addition to




 1 Court documents, including electronic docket information, are public records of which the Court can take
 judicial notice. See Opoka v. I.N.S., 94 F.3d 392, 394 (7th Cir. 1996); Henson v. CSC Credit Servs., 29 F.3d 280,
 284 (7th Cir. 1994).

                                                        2
Case 3:19-cv-01111-DWD Document 143 Filed 10/05/21 Page 3 of 13 Page ID #1196




 Attorneys Ronald E. Osman of Ronald E. Osman & Associates, Ltd. (Doc. 24), and Robin

 Potter of Fish Potter Bolanos, P.C. (Doc. 29). Defendant Aisin is again represented by

 Attorneys Rebecca Murphy Christensen, Kimberly A. Yates, and Patricia J. Martin of

                                                         . Just as in this matter, the parties in

 Marroy had several discovery disputes. See Marroy, at Docs. 76, 96.

        Finally, in Marroy, a confidentiality order was entered on March 22, 2021, which

 addressed and governed certain discovery issues present in Marroy. See Marroy, at Doc.

 56. Two provisions of the confidentiality order are relevant to this matter. Specifically,

 Paragraph 5 prohibits the use or disclosure of confidential material by the parties, counsel

 for the parties, or other authorized third-party disclosees. Id. Further, Paragraph 14



                                                                                Id.




                                 ployees (Doc. 127, pp. 1-2) 2. Plaintiff argues that this e-mail

 chain is relevant and discoverable in this matter, but that Defendant refuses to produce

 it (Doc. 127). Specifically, Plaintiff asserts that this e-mail chain is responsive to at least

 three requests for production, which state:

                              quest for Production



 2

 2021, and the Court has reviewed the same.

                                                 3
Case 3:19-cv-01111-DWD Document 143 Filed 10/05/21 Page 4 of 13 Page ID #1197




               12.   Written communications (including email and other ESI)
        among and/or between any Aisin employee, including management
        regarding discrimination based on race, religion, and/or national origin
        from January 2015 to the present.

               14.     All minutes and recordings and notes [sic] any meetings or
        discussions of defendant relating to (a) Plaintiff; or (b) discrimination based
        on race, religion, gender and/or national origin during the period January
        2015 to present.

                               quest for Production

             9.     Email, text messages and/or social media communications
        and/or posts mentioning or referencing race, Muslims, blacks, African
        Americans or minorities sent or received by any individual listed in
                                             26 Disclosures (see Request No. 1),

        26(a)(1) Disclosures, from the start of
        to the present.

 (See Docs. 127-2, 135-1).

        Defendant argues that this e-mail chain is not responsive to any written discovery

 in this matter (Doc. 134). Further, Defendant

 to use confidential documents from Marroy in this matter violate the Confidentiality

 Order entered in Marroy. See Marroy, at Doc. 56. Specifically, Defendant asserts that

                                             nversations which have occurred between the

                                                                                      Marroy

 documents to Plaintiff and his legal team, despite Plaintiff an

 being parties, representatives, or authorized disclosees of the documents. Defendant

 further argues that Attorney Graber has improperly retained confidential documents,

 including this e-mail chain, despite clear destruction provisions in the Marroy



                                              4
Case 3:19-cv-01111-DWD Document 143 Filed 10/05/21 Page 5 of 13 Page ID #1198




 Confidentially Order. As such, Defendant in

 and sanction Attorney Graber under Federal Rule of Civil Procedure 37(b).

        With his Reply, Plaintiff attached declarations from Attorney Graber, Attorney

 Potter, and Attorney Bolin, whom is not an attorney of record for Plaintiff in this matter,

                                                    Graber stated that he never shared any

 confidential documents from Marroy with his co-counsels in this litigation, nor has he

 revealed the contents of the e-mail chain to his co-counsels (Doc. 135-2). Attorney Potter

 stated that Mr. Graber had never disclosed the contents of the Marroy documents he was

 seeking from Defendant and had no part in the drafting or filing of the instant Motion to

 Compel (Doc. 135-3). Similarly, Attorney Bolin stated that she has never seen the

 documents at issue in this dispute and that Mr. Graber did not disclose the documents or

 names of any person identified in the documents (Doc. 135-4).




                                                    Civ. P. 26(b)(1). If a party fails to produce

 documents as may be required, the party seeking discovery may move for an order

 compelling the production. See Fed. R. Civ. P. 37(a)(3)(B)(iv). Rule 37 further requires

 the Court to consider the issue of sanctions in the resolving motions to compel. See Fed.

 R. Civ. P. 37(a)(5); Rickels v. City of South Bend, Ind., 33 F.3d 785, 786 (7th Cir. 1994) (Rule

                                                    fee-shifting rule. The winner is entitled to

 fees unless the opponent establishes that his



                                                5
Case 3:19-cv-01111-DWD Document 143 Filed 10/05/21 Page 6 of 13 Page ID #1199




        Specifically, if a motion to compel is gr

 opportunity to be heard, require the party . . . whose conduct necessitated the motion, the

 party or attorney advising that conduct, or




 circumstances make an award unjust. Fed. R. Civ. P. 37(a)(5)(A). Similarly, if a motion



 the attorney filing the motion, or both to pay the party . . . who opposed the motion its

 reasonable expenses incurred in opposing th




        The Court has reviewed the subject e-mail chain, and at best, it is marginally




 whether the statement was discriminatory or stereotypical. However, the Court finds

 that it is highly unlikely that most people reviewing this statement would conclude that

 it was discriminatory so that the e-mail would reasonably be capt

 discovery requests. Accordingly, the Court FINDS that the subject e-mail chain is not

 responsive to Requests to Produce Nos. 9, 12, or 14. To th

 not appear well taken, and even if the e-mail statement is otherwise discoverable in this

 matter, Defendant was substantially justified in withholding the e-mail from production

 as most readers would not understand the statement and specific term used therein as a

                                               6
Case 3:19-cv-01111-DWD Document 143 Filed 10/05/21 Page 7 of 13 Page ID #1200




 current discovery requests. Plainti                    127) is therefore DENIED.

        Given that the Motion (Doc. 127) is denied, the next question is

 fees are appropriate. As noted

 an opportunity to be heard, require the movant, the attorney filing the motion, or both to

 pay the party . . . who opposed the motion its reasonable expenses incurred in opposing



 other circumstances make an award of expenses

 separate order, the matter will be set for hearing so as to give Plaintiff and his counsel the

 opportunity to be heard.

        The Court further FINDS

 Counsel violated the confidentiality order in Marroy.            Indeed, Attorney Graber

 represented that he has not shared or disclosed this e-mail chain to his co-counsels in this

 litigation. Further, the deadline to return or destroy the confidential documents subject

 to the confidentiality order has not yet passed. The confidentiality order required the

 return or destruction of confidential documents within sixty-five days after dismissal or

 entry of final judgment, which occurred on August 25, 2021. See Marroy, at Docs. 56, ¶

 14(b), 98, 100. Therefore, the deadline to return or destroy confidential documents

 pursuant to Paragraph 14 of the confidentiality order should occur by October 29, 2021.




                                               7
Case 3:19-cv-01111-DWD Document 143 Filed 10/05/21 Page 8 of 13 Page ID #1201




                                 II.    Discovery Reports

                                                  very Reports (Doc. 130, Doc. 133-4), the

 parties invited the Court to issue rulings concerning approximately 13 outstanding

 discovery issues.    However, at the discovery conference, counsels for the parties

 represented that a majority of the items were now resolved, or that supplemental

                                                  s counsel represented that Defendant has



 counsel disagrees but is unable to specifically articulate what documents or items Plaintiff

 is still requesting from Defendant that have allegedly not been produced.

        The Court observes that a portion of this ongoing discovery dispute concerns an



 explained that its labeling error was causing confusion for the parties, so Defendant

 underwent the process of re-labeling all of its discovery documents to include both an



 represented that if any of its discovery responses or supplements were untimely, it was

 because Defendant chose to wait to produce those documents until after the re-labeling

 process was completed so that the discovery responses would also be updated with the

 correct and amended document numbers.

        Counsels for the parties also confirmed that Defendant had produced



                                s latest production was completed on September 28, 2021.

                                                  viewed the disclosures for completeness.

                                              8
Case 3:19-cv-01111-DWD Document 143 Filed 10/05/21 Page 9 of 13 Page ID #1202




 produce to Plaintiff.   This additional supplement was to have been produced on

 September 29, 2021. Considering these repres

 representation that Defendant has not only produced, but now re-produced, all required

 discovery materials to Plaintiff, at this time, the Court cannot reasonably determine what

 additional production or discovery Plaintiff may still be seeking from Defendant.

                               references EEOC documents, a training manual, and the

 recent discovery supplements received on September

 counsel also represents that Plaintiff needs additional time to review the new production



 update any discovery responses, as needed, to specifically reference the documents that

 are responsive to each request by their amended bates labels as a way of certification that

 nothing is being withheld from production.

        Considering the foregoing, the Court will not issue specific rulings on each of the



 DIRECTED to MEET and CONFER concerning all outstanding discovery issues, and

 specifically as to what documents have been produced. The parties are DIRECTED to

 file a joint status report certifying that they have completed this required meet and confer

 to the Court. The joint status report shall be filed on or before October 25, 2021.

        While the parties have already conducted multiple discovery conferences, the

 Court observes that in general, the attorneys appear to walk away from each meeting

 with grossly different opinions on the issues covered. These grave misunderstandings

                                              9
Case 3:19-cv-01111-DWD Document 143 Filed 10/05/21 Page 10 of 13 Page ID #1203




 and confusion have ultimately required much Court attention and involvement on these

 relatively minor discovery issues. Counsels are therefore reminded that it thwarts the

 meet and confer process to leave their discovery meetings with a misunderstanding of

 what has occurred there.     The Court highly encourages the parties to use written

 communications (and additional discovery requests, as necessary) throughout their meet

 and confer process, so to develop adequate documentation to support a Rule 37(a)(1)

 certification, and so the Court can readily determine what documents (including the

 corresponding bates number) have or have not been produced.

        The parties are further reminded that should the parties continue to have

 discovery disputes of this magnitude without progress or resolution, the Court will

 consider the appropriateness of appointing an independent overseer for discovery at the

 expense of the parties.



                     III.   Oral Motion for Additional Depositions




 opposes the request under Fed. R. Civ. P. 30(a)(2)(A)(i), which requires a party to seek

 leave of Court to conduct a deposition that would result in more than 10 depositions

                                      DENIED, without prejudice. After ten depositions



                                                  tional depositions. Plaintiff is reminded

 that he should provide significant detail as to why any additional depositions are needed.

                                            10
Case 3:19-cv-01111-DWD Document 143 Filed 10/05/21 Page 11 of 13 Page ID #1204




         Although not raised by the parties, the Court observes Defendant has not filed an

 amended answer and affirmative defenses.

                                                  er and Affirmative Defenses (Doc. 114, at

 ¶ 2).   The Court further granted Defendant leave to file an amended answer and

 affirmative defenses on or before July 21, 2021 (Id.). As of the date of this Order,

 Defendant has not filed an amended answer and affirmative defenses.             Defendant

 represents that it elected to stand on its Answer and Affirmative Defenses, without

 amending any of the stricken portions, and without any substantive changes to its prior

 answer. For the benefit of the record in this matter, the Court DIRECTS Defendant to

 file an Amended Answer to clarify this representation. Defendant shall file its Amended

 Answer on or before October 25, 2021.



                                   V.     Admonishment

         The Court admonishes the parties to work professionally and cooperatively. The

 Court has dedicated significant time and resources in reviewing voluminous motions and

 responses on discovery matters which the Court considers relatively simple. The parties

 would do well to review the Federal Rules of Civil Procedure 26 and 37. Further, the

 Court would be remiss not to consider the impact these discovery delays are having in



 best interest, the potential harm caused by

 discovery disputes is striking and runs counter to the spirit of Rules 26 and 37. Litigation

                                             11
Case 3:19-cv-01111-DWD Document 143 Filed 10/05/21 Page 12 of 13 Page ID #1205




 need not be a blood sport and fervent advocacy should not employ the discovery process

 as a pugil. The Federal Rules of Civil Procedure are specific and encompassing and, if

 studied and applied, more often than not supply the solution to discovery related



        Finally, the Court is troubled by the enormous attorney fees being incurred in this

 matter by Plaintiff, especially considering the current procedural posture of this case. At

                                ff submitted an affidavit of

                              ts the fees incurred from August 12, 2021 to September 20,

 2021, but excludes any time spent by Attorneys Ronald E. Osman or Brian Graber during

                                        ttorneys have still accumulated $83,000.00 in fees

 representing 150.04 hours.

        The Seventh Circuit has instructed that district courts have broad discretion to the

                                 fees while the litigation is



 excessive fees before                See Montanez v. Simon, 755 F.3d 547, 550-51 (7th Cir.

 2014). In Montanez

 overlitigated by both sides, [which] took on all the protracted complexity of high-stakes

 commercial litigation, replete with hard-fought

 Id                                                parties, the Circuit emphasized that cases

 involving a fee-shifting statute (and no private incentive to limit the scope of litigation),



                                     Id. at 552.

                                              12
Case 3:19-cv-01111-DWD Document 143 Filed 10/05/21 Page 13 of 13 Page ID #1206




        In that vein, the Court must take this opportunity to remind the parties that it has

 broad case-management authority to set reasonable limits on discovery and trial

 preparation to help prevent similar overlawyering here. The Court therefore warns the

 parties that it will not hesitate to set reasonable boundaries and limitations on discovery

 as may become necessary to prevent the accrual of excessive fees. The parties should be

 mindful of these constraints, and work to avoid any further gamesmanship of the

 discovery process, and instead focus their efforts and resources on moving this case along

 and preparing for trial

        SO ORDERED.

        Dated: October 5, 2021

                                                  ______________________________
                                                  DAVID W. DUGAN
                                                  United States District Judge




                                             13
